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                                   UNITED STATES DISTRICT COURT
13                                NORTHERN DISTRICT OF CALIFORNIA
14
15   CALIFORNIA HOMELESS UNION, et al.,          ) Case No.:
                                                 )
16                                               ) DECLARATION OF JASON SARRIS IN
                    Plaintiffs,
17                                               ) SUPPORT OF PLAINTIFFS’
            vs.                                  ) APPLICATION FOR TEMPORARY
18                                               ) RESTRAINING ORDER AND
                                                 ) PRELIMINARY INJUNCTION
19                                               )
     CITY OF FREMONT,
20                                               )
                    Defendant.                   )
21                                               )
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     Declaration of Timothy Gholston, RN
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 1
     Introduction
 2
            I, Jason Sarris, am a member of the California Homeless Union, and I submit this declaration
 3
 4   based on my personal experience and observations as a former camp resident and Homeless Union

 5   member, as well as President of the Marin County Homeless Union.
 6
 7          1.      As an Officer of the Marin County Homeless Union, my duties include directly assisting

8    other locals of the California Homeless Union/Statewide Organizing Council. Since enforcement of the
 9
     Fremont ordinance will directly threaten our ability to provide this assistance, I have made almost daily
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     visits to members of our Fremont local and others in the encampments in Fremont and have become
11
12   familiar with the contents of the situation and the impact of the new ordinance.

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     2.     I also want to speak about our success in Marin County Homeless Union regarding Camp
14
     Compassion, a homeless encampment located in Novato, California. Camp Compassion was created as a
15
16   settlement agreement in the case Marin County Homeless Union v City of Novato (3:21-cv-05401-

17   YGR(RMI)) Over the course of my involvement with the camp, I have gained insight into how such an
18
     initiative not only provides immediate stability for homeless individuals but also serves as a successful
19
     pathway to permanent housing. Over the course of the last 2 plus years, 40 unhoused camp residents have
20
21   been permanently housed from Camp Compassion. The camp has served as a successful housing program

22   that has actually reduced homelessness in Novato, CA. My declaration further addresses how the model
23   of Camp Compassion could be effectively replicated in Fremont, California, as a way to provide similar
24
     benefits to its homeless population.
25
26   3.     Camp Compassion in Novato has been a vital resource for those experiencing homelessness. This
27
     encampment provided individuals who had been living in unstable, unsafe, and unhealthy conditions with
28
     a safe place to stay. In contrast to traditional methods of addressing homelessness, which often involve

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 1   displacement or shelters with limited capacity, Camp Compassion prioritized both the immediate and
 2   long-term needs of its residents.
 3
 4   4.     By offering structured services such as access to restrooms, garbage collection, water, showers,
 5   and street medicine, Camp Compassion created an environment where people could regain a sense of
 6
     stability. Camp Compassion is also a centralized hub where homeless outreach can help camp residents
 7
     with the support they need and where housing case workers can do the work to get their clients
8
 9   “document ready” for housing. This basic level of support allowed residents to focus on their long-term

10   goals, such as obtaining employment, mental health services, and, ultimately, permanent housing.
11
12          Stability and Support

13   5.     One of the most critical aspects of Camp Compassion was its emphasis on stability. Homeless
14   individuals often face overwhelming uncertainty, which can hinder their ability to plan for the future or
15
     pursue employment and housing. At Camp Compassion, residents had access to an environment that was
16
     not only physically safe but also mentally stabilizing. For many, it provided the first opportunity in a long
17
18   time to take steps toward self-sufficiency.

19
     6.     Moreover, Camp Compassion facilitated important connections to social services and community
20
21   resources, offering residents pathways to jobs, healthcare, and housing programs. Support from nonprofit

22   organizations, local government agencies, and other community members played an essential role in
23   ensuring that residents had the assistance needed to improve their circumstances.
24
25          Successful Pathways to Permanent Housing
26   7.     Camp Compassion proved to be an effective model for moving individuals into permanent
27
     housing. Through the collective efforts of local governments and nonprofits, a significant number of
28
     camp residents were able to transition into long-term housing solutions. This success was largely due to

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 1   the integrated case management system that worked with residents individually, identifying their unique
 2   needs and assisting them in navigating the complexities of attaining permanent housing.
 3
 4   8.      The encampment also provided a social structure that helped people develop the necessary skills
 5   for independent living. Many individuals found a sense of community and accountability within the
 6
     camp, which contributed to their ability to maintain housing once they transitioned to more permanent
 7
     residences.
8
 9
             Relevance to Fremont, CA
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11   9.     The success of Camp Compassion demonstrates that providing stable, secure, and supportive
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     living environments for homeless individuals is an effective strategy for reducing homelessness.
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     Fremont, California, is no different from Novato in that it also faces an increasing homeless population in
14
15   need of both immediate and long-term solutions. By mirroring the practices of Camp Compassion,

16   Fremont can create an environment where homeless individuals are treated with dignity and offered a
17   structured path to permanent housing.
18
     10.    In particular, Fremont can replicate the model by establishing safe, designated encampments that
19
     provide essential services such as restrooms, waste management, showers, and street medicine while also
20
21   integrating case management and social services. Additionally, collaboration with local nonprofits and

22   government agencies is critical to ensure that residents have access to supportive services that help them
23   stabilize their lives and transition into permanent housing.
24
            Conclusion
25
     11.    Camp Compassion has been a shining example of how compassion, structure, and community can
26
27   work together to provide homeless individuals with the tools and support needed to regain stability and

28   secure permanent housing. I believe that Fremont, California, could greatly benefit from adopting a


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 1   similar model. The success of Camp Compassion proves that with the right resources, homeless
 2   individuals can have a chance at a brighter future, and I strongly advocate for the replication of this
 3
     approach in Fremont.
 4
 5      I swear under penalty of perjury under the laws of the United States that the foregoing is a true
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     statement based on personal knowledge.
 7
8           Dated: March 2, 2025                                           /s/ Jason Sarris
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            Executed at Novato, CA
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